Case 1:13-cv-O4139-.]GK Document 1 Filed 06/14/13 Page 1 of 9

 

  

 

UNITED STATES DISTRICT §§
SOUTHERN DI TRICT GF NEW YORK
x
MELVYN I' WEISS’ Civil Action No. :
Plaintiff,

_VS’..

B TUCKEY DEVLlN and DEVLIN
DEVELOPMENT, INC.,

Defendants.

 

 

Devlin Deyelopnient, Inc. (“Det`endante”} and in support ot` llis causes of action set lorth below,

alleges as follows:

l. Plaintit`f loaned $500,000.01, (t`ne “loan”) in April 2007 to Defendant Devlin
Developrnent, Inc. (_“Defendant Corporation”) and Todo-Caribe Developrnent Corporation
(“Todo~Caribe”). The loan Was to be a Short~term bridge loan and Was to be used to facilitate the
development of a mixed~use beach resort project in Caharete, Dorniniean Repi,lli)l,ico The
president of Devlin Developrnent, B. Tuckey Devlin (“Det`endant Devlin”), and the president of
Todo~€;iaril)e, F;van H. Berger, executed a promissory note in connection With Whlch each
personally guaranteed the loan and agreed to pay back the loan amount with specified interest to
Plaintit`t` no later than jane l_‘§5 2007z Despite years of attempts by Plaintifa to obtain repayment

of his loan, Defendants never repaid the loan and thereby breached the terms of the promissory

note and guaranty and the loan and subscription agreement

  

Case 1:13-cv-O4139-.]GK Document 1 Filed 06/14/13 Page 2 of 9

2. Plaintiff brings claims for recovery on a promissory note or guaranty, breach of
contract, and breach of implied covenant of good faith and fair dealing Plaintiff seeks damages

in excess of one million dollars

 

PARTIES

3, Plaintiff l\/lelvyn I. W eiss is an individual Who resides in the State of Florida.

4. Det`endant Devlin is an individual Who resides'in St. Croix, U.S. Virgi‘i islands

5. The Defeiidant Devlin Developrnent, inc. is a New Yorl<. corporation and its
principai rlace of business is in New Yor.-§, Nevv ’or.-. Det`endant Deviin is the president ct
Devlin Development, lnc.

aemseicrion AND ‘JENUE
6. Federal diversity jurisdiction exists in this Court under 28 U.S.C. § l332 because

Plaintiff and Defendants are citizens of different states, and because the matter in controversy
exceeds $75;()00.()0; exclusive of interest and costs.

7. This Court has personal jurisdiction over Deiendant Devlin, pursuant to New
York’s long~arni statute, CPLR § 302, because he transacted business Witbin New Yorl< and
Plaintift" s causes of action arose out of the subject matter of the transacted business Defendant
Devlin transacted business in this forum by negotiating and signing the promissory note and loan
and subscription agreement underlying Plaintiff’ s claiins. Der"endant Devlin also maintains a
bi‘siness address at 459 Fasbion Avenue, New '\r’oi"kj New Yorl§, lt)i.,»,”£$s Tbis Court has personal
jurisdiction over Devlin Developrnent, lnc. pursuant to CPLR § 301, or alternatively, under

§ 3€)2, as the company Was incorporated in, and does ousiness Within, tier `r’orl<;,

_2_

Case 1:13-cv-O4139-.]GK Documentl Filed 06/14/13 Page'S 0t9

8. This Court has personal jurisdiction over Defendant Corporation and venue in this
Court exists by virtue of an agreement between the parties, set forth in the parties’ loan and
subscription agreement and promissory note, in which Defendant Corporation consented that this
Court would have personal and subject matter jurisdiction over it, that venue in this Court would
be proper, and that the Defendant Corporation’s obligations and the Plaintift`s rights would be

governed by New Yori<: law and not be subject to any defense

FACTUAL ALLEGATIONS-

§O, binder a long and si_ibsr‘ r,‘,'_ri ption agreement and a promissory note both datt;<_`ia 311 d
executed April 5, 2907, Plaii.tif aned 3500 000. 00 to Devlin Developnient, Inc. an nd Todo-
Ca11be De'veic-“men* Corporat1on {the “Bon'c vacrs }

ll. The terms of the loan and subscription agreement provided that upon the
execution of the loan and subscription agreement, Plaintiff would by wire transfer deposit
5500,000.00 into the Borrowers’ account, and that the loan would be based upon the terms and

conditions in the promissory note. On or about Aprii `12, 2007, Plaint iff deposited the loan
proceeds in accordance with Borrowers’ instructions

12. Under the terms of the promissory note, the loan had an annual rate of interest of
twelve percent (12%) for the period from April 5, 2007 through June l5, 2007. The promissory
note was executed on behalf of Defendant Corporation and Todo~Caribe by their respective
presidents Defendant f`e vlin a1 Fv an H Bergen and v as a1se separate1y executed and
“payment personally and individually guaranteed” by Defendant Devlin and l\/ir. Berger.

l3. The loan was secured by a l00% interest in five completed condominium units at
the La l\/lariposa resort in Cabarete, Dominican Republic. The units are identified as C-103, D-

_3_

Case 1:13-cv-O4139-.]GK Document 1 Filed 06/14/13 Page 4 of 9

l0l, B-lO2, D-104, and A-102 (“the properties”).

l4. The terms of the promissory note and the loan and subscription agreement
required that the loan be repaid within two business days of the Borrowers’ receipt of proceeds
through a loan from the Virgin Islands Council for Sustainable Economic Development (“VISED
loan”) or “upon the VISED loan closing,” but in any event no later than June 15, 2007. The
purpose of the loan was to allow the Borrowers to make payments against the properties and to
pay for expenditures in connection with satisfying the conditions of the VISED loan.

15. The promissory note was immediately due and payable if the Borrowers failed to
pay any outstanding amounts within ten days of the maturity date (defined as the “VISED Loan
Closing”). The loan and subscription agreement defined the “VISED Loan Closing” as the
closing of that loan "r before May 31, 2007. lf payment of the principal amount of the loan
made by Plaintiff was not made upon maturity, then interest accrued on such unpaid amount
from the maturity date at an annual rate, computed as simple interest, of eighteen percent (18%)

,\-1,- n<~.,,\(‘ -.

p 1 a111 ui11.

l6. The promissory note express y provided that the Borrowers waived gipresentment,
demand, notice of dishonor, protest, and notice of protest.”

171 The loan was not repaid according to the terms of the promissory note, or at all.
Although the \/lSED loan was scheduled to close on or before l\/iay 3 l, 2007, it never closed or
occurred The loan made by Plaintiff became due by, and was defaulted upon by the Borrowers,
by june l5, 20075 under the terms of the promissory note.

18. After several years of written and oral communications by which Plaintiff sought

repayment ofhis principal and interest.; on or about A,ugust 5 201 t,, Plaintit`i` sent to the

_4_

Case 1:13-cv-O4139-.]GK Document 1 Filed 06/14/13 Page 5 of 9

Borrowers a letter and proposed confession of judgment, requesting anew repayment of the loan
with the interest due. The Borrowers never responded to that request y

l9. After several more attempts at obtaining repayment of the loan, Plaintiff sent to
l\/lr. Berger on or about May l7, 2013 a proposed Affidavit and Confession of Judgment which,
among other things, would confess judgment and authorize its entry against the Defendant
Devlin, Defendant Corporation, Todo-Caribe and Evan Berger, jointly and severally, in the sum
of 31,057,752.72. Pursuant to this communication, Plaintiff requested that l\/lr. Berger forward
the proposed Affidavit and Confession of Judgment to Defendant Devlin for his execution of the
Affidavit. Additionally, Plaintiff sent the documents directly to Defendant Devlin’s post office
address in Kingshill, St. Croix, U.S. Virgin Islands.

20. 0“1 or about lyiay 29, 20l 3, Defendant Devlin_, through counsel, finally contacted
Plaintiff s counsel in response to the requested Affidavit and Confession of ludgment.

2l. Shortly thereafter, on or about May 3 l, 20l3 and again on June 4, 2013,

their respective counsel, through and including lurie 14, 20l3. As of the date hereof, however,
Defendant Devlin has declined to confess judgment

22. in the meantime by signature and affidavit dated l\/lay 3 l, 20113., Evan Bergen on
behalf of himself and Todo-Caribej did confess to ajudgment with respect to the loan in the
amount $l,057,'752.'72, representing the»ji)rincipal and interest due and owing to Plaintiff as of
that date pursuant to the promissory note.

23. As of the date hereof the amount due on the loanj with interest/§ is f:i§l§t)e¢i;§§};ilélz

_5_

Case 1:13-cv-O4139-.]GK Document 1 Filed 06/14/13 Page 6 of 9

enforceable, jointly and severally, against the Defendant Corporation and Defendant Devlin.
24. As of the date hereof, the Defendants have not tendered payment to the Plaintiff

for the amount of money and interest owed on the loan.

CAusns or ACTio_N

RECovERY oN PRoMisson Nors oR GUARANTY

25 Plaintiff repeats and realleges each of the f t regoirg alleg‘tions as if fully set f “1th
hereii;.

26 1he l“zorro‘x ers executed a promissory note, in whic-. they jointh promised to
repay Plaintiff the 3500,00009 he loaned them, 'w1th iaterest`, by lure l5, 2007 The Defendant

Devlin executed the promissory note on behalf of the Defendant Corporation, and separately
executed the promissory note and personally guaranteed it in his individual capacity Evan H.
Berger similarly executed the promissory note on behalf of Todo-Caribe Development

Corporation, and also executed the promissory note and personally guaranteed it in his individual

27. The promissory note is a valid guaranty, in writing and duly executed, that
guarantees payment of the debt owed by Defendants, and describes with precision the obligations
to which Defendants are bound The obligation of repayment of the loan was unconditional and
unequivocal§ and the liability of the De "endants is joint and several

28. Consideration for the guaranty is expressly or impliedly stated in the instrument,

in that the Borrowers executed the promissory note in exchange for the “Value Received” from

Case 1:13-cv-O4139-.]GK Documentl Filed 06/14/13 Page 17 0f9

Plaintiff, namely, the $500,000.00 that he loaned the Borrowers. The promissory note was
delivered to, and accepted by, the guarantors (the Borrowers) through their execution of the note.

29. The Borrowers defaulted on the promissory note by failing to repay Plaintiff the
loan amount with the interest due on or by June 15, 2007, causing damages to Plaintiff in the .

30. Defendants waived their right to request that a demand or presentment or notice
of dishonor he made before repaying the loan under the terms of the promissory note in any
event, Plaintift’s August 5, 20l l letter to the Borrowers, requesting repayment and proposing a
v confession ofjudgment, constitutes an adequate demand

3 l As a result of Defendants conduct alleged herein, Plaintiff has been injured in an
amount of no less than $1,064,593.24.

CoeN'r ll

BREACH oF CoNTRACr

27. laintit`t` repeats and realleges each of the foregoing allegations as if fully set forth
14 A.,..,-\ a
1151 511

28. Plaintiff and the Borrowers entered into a valid contract in tile form ot the

promissory note and the loan and subscription agreement through which Plaintiff loaned the
Borrowers $500,000°00 with interest The Defendant Devlin and Mr. Berger executed the loan
and subscription agreement and promissory note on behalf of their respective companiesv and
also executed the promissory note and personally guaranteed it in their individual capacities

2§. Plaintifi"performed his obligations in accordance with the terms of the promissory

note between the parties by loaning the Borrowers the SSOG,OO0.00 amount

,.».¢

3(_1 De enda.nts faile to pert'orm;_ and `_,rea.elnecz their obligations under the

;7_

Case 1:13-cv-O4139-.]GK Document 1 Filed 06/14/13 Page 8 of 9

promissory note and loan and subscription agreement by failing, in violation of the terms of the
promissory note and loan and subscription agreement, to pay Plaintiff by June 15, 2007 or later,
the amount of principal and interest owed to Plaintiff.

31. Plaintiff has incurred damages in an amount of no less than $1,064,593.24 as the
result of Defendants’ failure to perform their obligations under the promissory note and loan and
subscription agreement between the parties

COUNT III
BREACH or IMPLIED COVENANT oF Gool) FAITH AND FAIR DEALING

32. Plaintiff repeats and realleges each of the foregoing allegations as if fully set
foith herein.

33. Thisis ‘ ac laini against tDefendarits for breach of tirhe ‘ iplied covenant of good faith
and fair dealing arising from Defendants’ conduct in failing to performing as required by the
promissory note and loan and subscription agreement described herein.

c 1.,. ..,a .14,,`,~ "

iiesea agie eerneri were co-’en-~nts that iiie parties wool ddealv ith each

co
>-1
>-'1
p.,.|
*C;
,_._.
di .
ci>
C)..
,.
,_k

other honestly and in good faith, and would not engage in conduct to deprive the other of the
benefits of the agreements

35. Defendants., however, have failed to perform their obligations in good faith and in
a fair manner Specifically, Defendants have breached the implied covenant of good faith and
fair dealing by failing to failing to comply with the terms of the parties’ agreements and failing
to deal with i)laintiffin an honest, ethical, and forthright manner,

36, Defendants’ conduct has deprived and will continue to deprive Plaintiff of the

benefits of the agreements described herei \

Case 1:13-cv-O4139-.]GK Document 1 Filed 06/14/13 Page 9 of 9

37. As a result of Defendants’ breach of the implied covenant of good faith and fair
dealing, Plaintiff has suffered and will continue to suffer monetary damages in an amount of no
less than $l ,064,593.24.

PRAYER FoR RELIEF

WHEREFORE, Plaintiff requests judgment against Defendants as follows:

a. awarding damages (including compensatory and punitive damages)
against Defendants, together with pre-judgment interest at the maximum rate allowable by law;

b. awarding Plaintiff the costs and disbursements of this action, including
reasonable allowances for Plaintiff”s attorneys’ fees and expenses; and

c. granting such other or further relief as may be just and proper under the

circumstances

JURY TRIAL DEMANI)

Plaintiff Demands a trial by jury on all issues.

Dated: June l¢l, 20l3

CiiiistupiieiA Seeger
Diogenes P. Kekatos

lames A. O’Brien

77 Water Street

New Yorl<, NY l()()()§
Phone: (212) 584-0700
Facsirnile: (2l2) 584~()799
cseeger@seegerweiss.com
dl<el<atos@seegerweiss.com
iobrien@seegerweiss.com

Attorneys for Plaintiff

